4/28/2021Case   2:21-cv-00778-TAD-KK Document 106-1 - USPS
                                           USPS.com®  FiledTracking®
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   USPS Tracking
                                           ®                                                                    FAQs   




                                                 Track Another Package                  +




                                                                                                              Remove   
   Tracking Number: 70192280000050498562

   Your item was delivered at 3:45 am on April 8, 2021 in WASHINGTON, DC 20500.




     Delivered




                                                                                                                       Feedback
   April 8, 2021 at 3:45 am
   WASHINGTON, DC 20500


   Get Updates        




                                                                                                                 
       Text & Email Updates


                                                                                                                 
       Tracking History


       April 8, 2021, 3:45 am
       Delivered
       WASHINGTON, DC 20500
       Your item was delivered at 3:45 am on April 8, 2021 in WASHINGTON, DC 20500.



       April 3, 2021, 11:34 am
       Available for Pickup
       WASHINGTON, DC 20500



       April 3, 2021, 8:49 am
       Arrived at Post Office
       WASHINGTON, DC 20018

https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70192280000050498562%2C                  1/2
4/28/2021Case   2:21-cv-00778-TAD-KK Document 106-1 - USPS
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       April 2, 2021
       In Transit to Next Facility



       March 30, 2021, 12:47 am
       Departed USPS Regional Facility
       BATON ROUGE LA PROCESSING CENTER



       March 26, 2021, 10:58 pm
       Arrived at USPS Regional Facility
       BATON ROUGE LA PROCESSING CENTER




                                                                                                              
       Product Information



                                                              See Less      




                                                                                                                  Feedback
                                 Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


                                                                  FAQs




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